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MICHELE SILER, ) OuF TN JACKSO¢\; T`
)
Plaintiff, )
) No. 1-04-1161-JDT-sta
v. ) JUDGE ToDD
) MAGISTRATE ANDERSON
FIRST sTATE BANK, )
)
Defendant. )
oRl)ER

 

Defendant First State Bank having moved the Court to extend the deadline for Eling
dispositive motions in this action to Monday, June 6, 2005, and Plaintiff Michelle Siler having
no opposition to this proposed extension, and the Court having concluded that this extension Will
not affect the scheduled trial date in this action,

The deadline for filing dispositive motions in this action is hereby extended to Monday,

June 6, 2005.

IT IS SO ORDERED.
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JUDGE J-A-M-E-S-'-F-?@BD

This document entered on the dockets ee in compliance
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Subrnitted by:

_"`J.. 1 1 ~D C_.-/l/~
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Attorneys for Defendant

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01161 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

